                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                        RE:   N. Allen SAWYER
                                              Docket Number: 2:02CR00468-04
                                              PERMISSION TO TRAVEL
                                              OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Hong Kong, China. He is current with
all supervision obligations, and he completed his term of home detention on August 24,
2006. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence Imposed: 6 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 Special Assessment; $20,000 Fine. Special Conditions: Warrantless
search; Financial access; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: November 28, 2007 to December 8, 2007, via Cathay Pacific
Airways in San Francisco, California.


Purpose: Releasee is to attend a development business meeting, and to inspect the
development project site.




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                                          1           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
RE:   N. Allen SAWYER
      Docket Number: 2:02CR00468-04
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                            Respectfully Submitted,


                             /s/ George A. Vidales
                            GEORGE A. VIDALES
                        United States Probation Officer

DATED:    October 30, 2007
          Elk Grove, California
          GAV/cj


REVIEWED BY:    /s/ Deborah A. Spencer
                DEBORAH A. SPENCER
                Supervising United States Probation Officer



ORDER OF THE COURT:

Approved XX                               Disapproved


Dated: November 8, 2007


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                                    MORRISON C. ENGLAND, JR.
                                    UNITED STATES DISTRICT JUDGE




                                                                                                   R ev. 05/2006
                                      2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
